              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:12-cv-00123-MR
              [CRIMINAL CASE NO. 1:09-cr-00013-MR-3]


DENNIS LAMAR BRUTON,             )
                                 )
              Petitioner,        )
                                 )             MEMORANDUM OF
     vs.                         )             DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

       THIS MATTER comes before the Court on Petitioner’s “Motion to

Reconsider Court’s Ruling Denying § 2255 Motion ‘With Prejudice.’” [Doc.

16].

                              BACKGROUND

       Petitioner is serving a 262-month sentence after being convicted on

July 19, 2010, of conspiring to distribute, and possessing with the intent to

distribute, 50 or more grams of cocaine base, in violation of 21 U.S.C. §§

846 and 841(a)(1). [Criminal Case No. 1:09-cr-00013-MR-3 (“CR”), Doc.

261: Acceptance and Entry of Guilty Plea]. Petitioner was sentenced as a

career offender under U.S.S.G. § 4B1.1(a). Petitioner appealed on July 24,

2010, but the appeal was subsequently dismissed on September 20, 2010,



   Case 1:09-cr-00013-MR-WCM    Document 834    Filed 09/02/16   Page 1 of 6
due to Petitioner’s failure to prosecute. [CR Docs. 552, 559]. The Fourth

Circuit Court of Appeals mandate dismissing the appeal was issued on

September 20, 2010. [Id.]. Petitioner did not file a petition for certiorari with

the U.S. Supreme Court.

      On May 26, 2012, Petitioner filed a motion to vacate, set aside, or

correct sentence under 28 U.S.C. § 2255, contending in part that he was

entitled to relief from his sentenced as a career offender under the Fourth

Circuit’s en banc decision in United v. Simmons, 649 F.3d 237 (4th Cir.

2011).1 On June 12, 2013, this Court denied and dismissed Petitioner’s

motion to vacate as time-barred. [Doc. 8]. The Court further found that

equitable tolling was not warranted, that Petitioner’s Simmons claim was in

any event without merit, and that his claim was also barred by the waiver in

his plea agreement and procedurally defaulted. [Id.]. On August 22, 2016,

Petitioner filed the pending motion under Rule 60(b) of the Federal Rules of

Civil Procedure.

                                     DISCUSSION

      Rule 60 of the Federal Rules of Civil Procedure provides, in pertinent

part, as follows:



1 Petitioner placed the Section 2255 petition in the prison mailing system on May 26,
2012, and it was stamp-filed in this Court on June 4, 2012.
                                         2

    Case 1:09-cr-00013-MR-WCM       Document 834     Filed 09/02/16   Page 2 of 6
            On motion and just terms, the court may relieve a
            party or its legal representative from a final judgment,
            order, or proceeding for the following reasons:
            (1) mistake, inadvertence, surprise, or excusable
            neglect;

            (2) newly discovered evidence that, with reasonable
            diligence, could not have been discovered in time to
            move for a new trial under Rule 59(b);

            (3) fraud (whether previously called intrinsic or
            extrinsic), misrepresentation, or misconduct by an
            opposing party;

            (4) the judgment is void;

            (5) the judgment has been satisfied, released or
            discharged; it is based on an earlier judgment that
            has been reversed or vacated; or applying it
            prospectively is no longer equitable; or

            (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b). Subsection (c) of Rule 60 provides that “[a] motion

under Rule 60(b) must be made within a reasonable time--and for reasons

(1), (2), and (3) no more than a year after the entry of the judgment or order

or the date of the proceeding.” Fed. R. Civ. P. 60(c). In support of the motion

for relief from judgment, Petitioner again argues the merits of his underlying

claim for relief. He also contends that this Court should have allowed him to

respond before the Court dismissed the petition as untimely.

      Petitioner’s motion for reconsideration is denied. First, Petitioner did

not file the pending Rule 60(b) motion within a reasonable time following the
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   Case 1:09-cr-00013-MR-WCM      Document 834     Filed 09/02/16   Page 3 of 6
Court’s denial of the motion to vacate. The Court denied Petitioner’s motion

to vacate on June 12, 2013, and Petitioner did not file the present motion for

reconsideration until August 22, 2016, over three years later. Accordingly,

Petitioner’s motion for reconsideration is untimely.

       In any event, Petitioner has not shown that he is entitled to relief from

this Court’s earlier judgment. First, for the reasons stated in the Court’s

original order, Petitioner’s claims were properly dismissed on the merits.

Second, as to the Court’s dismissal based on timeliness, the Court was not

required to give Petitioner an additional opportunity to explain the delay in

filing his motion under Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002)

(requiring courts to advise a petitioner that his habeas motion or petition is

subject to dismissal as time-barred under the AEDPA, and to give petitioner

an opportunity to explain his delay before entering a sua sponte dismissal of

the case). As this Court explicitly found in its order of dismissal, notice under

Hill v. Braxton was not required as Petitioner had already set forth his

timeliness arguments in his original petition.2



2 Petitioner appears to assert a new theory of timeliness, contending now that his petition
was timely under Section 2255(f)(3), rather than under Section 2255(f)(4) as he
contended in his original petition. Petitioner cannot change his theory of timeliness at this
late date through a Rule 60 motion. In any event, Petitioner’s argument as to timeliness
under Section 2255(f)(3) is foreclosed by the Fourth Circuit’s decision in United States v.
Powell, 691 F.3d 554, 563 (4th Cir. 2012).

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    Case 1:09-cr-00013-MR-WCM          Document 834       Filed 09/02/16    Page 4 of 6
      For all of these reasons, the Court will deny Petitioner’s motion for

reconsideration.

                               CONCLUSION

      Based on the foregoing, the Court concludes that Petitioner’s Motion

for Reconsideration will be denied.

      The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong”)

(citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000). Petitioner has failed

to demonstrate both that this Court’s dispositive procedural rulings are

debatable, and that the Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Reconsider

[Doc. 16] is DENIED.


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   Case 1:09-cr-00013-MR-WCM      Document 834    Filed 09/02/16   Page 5 of 6
      IT IS FURTHER ORDERED that the Court declines to grant a

certificate of appealability.

      IT IS SO ORDERED.
                                Signed: September 2, 2016




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   Case 1:09-cr-00013-MR-WCM    Document 834        Filed 09/02/16   Page 6 of 6
